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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )         Case No. 8:03CR446
                                           )
                    Plaintiff,             )
                                           )
             vs                            )         MEMORANDUM
                                           )          AND ORDER
JOSE MARTIN PANDURO-AVENA,                 )
                                           )
                    Defendant.             )

       I have reviewed the transcript of the plea-taking proceeding. (Filing 104.) I am
not yet persuaded that the defendant has admitted that he is guilty of the crime to
which he wishes to enter a plea of guilty. For example, the defendant has denied
knowledge that the pills were pseudoephedrine and he has denied that he knew the
pills were to be used to manufacture methamphetamine. (Filing 104 at 28-29.)

       Accordingly, I am inclined to reject the report and recommendation (filing 100)
that Judge Piester entered regarding the plea. However, before I do so, I should
examine the defendant myself. Therefore,

       IT IS ORDERED that I will examine the defendant on Friday, August 5, 2005,
at 4:00 p.m., in the Special Proceedings Courtroom, Roman L. Hruska United States
Courthouse, Omaha, Nebraska, to determine whether to accept the plea of guilty. The
defendant and counsel of record for both sides are ordered to be present at that date,
time and place.

      July 22, 2005.                           BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge
